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     CIRCLE CLICK MEDIA LLC,
12   METRO TALENT, LLC, and
     CTNY INSURANCE GROUP LLC
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15

16
     CIRCLE CLICK MEDIA LLC, a California            Case No. 3:12-CV-04000 SC
17   limited liability company; METRO
     TALENT, LLC, a California limited               FIRST AMENDED CLASS ACTION
18   liability company; and CTNY                     COMPLAINT
     INSURANCE GROUP LLC, a Connecticut
     limited liability company, on behalf of
19   themselves and all others similarly situated,   DEMAND FOR JURY TRIAL
20   Plaintiffs,
21   vs.
22   REGUS MANAGEMENT GROUP, LLC, a
     Delaware limited liability company;
23   REGUS BUSINESS CENTRE LLC, a
     Delaware limited liability company;
24   REGUS PLC, a Jersey, Channel Islands,
     public limited company; HQ GLOBAL
25   WORKPLACES LLC, a Delaware limited
     liability company; and DOES 1-50,
26
     Defendants.
27

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 1              Plaintiff Circle Click Media LLC, Metro Talent, LLC, and CTNY Insurance Group LLC,

 2   on behalf of themselves and all others similarly situated, and demanding a trial by jury, allege as

 3   follows:

 4                                        I.       INTRODUCTION

 5              1.    This class action lawsuit arises out of the unfair and deceptive business practices

 6   of Defendants Regus Management Group, LLC, Regus Business Centre LLC, Regus plc, and HQ

 7   Global Workplaces LLC (individually and/or collectively, “Regus” or “Defendants”). Regus

 8   leases commercial office space throughout California and New York and holds itself out as the

 9   world’s largest provider of flexible workplaces. Regus fails to adequately disclose various fees

10   when advertising and renting its space, employs numerous policies and practices to collect unfair

11   fees from its tenants, and leads tenants into reasonably believing that the total price that they will

12   pay for Regus’ office space is less than the amount that Regus actually charges. Regus also

13   incorrectly represents that the purported terms and conditions of the office space are set forth in a

14   simple one-page document. After clients sign Regus’ agreement indicating the total monthly

15   payment, Regus routinely assesses additional unfair charges to tenants. Regus’ business practices

16   constitute a systematic and widespread failure to adequately disclose charges to its office space

17   clients.

18              2.    Regus’ egregious and unscrupulous business practices have harmed Plaintiffs and,

19   upon information and belief, numerous other persons in California and New York. This class

20   action is brought on behalf of Plaintiffs, and on behalf of all others similarly situated, and seeks

21   relief, including, but not limited to, punitive damages, from Regus for its conduct.

22                                 II.         JURISDICTION AND VENUE

23              3.    Jurisdiction. This case is subject to original jurisdiction in this Court pursuant to

24   the Class Action Fairness Act of 2005, Pub. L. No. 109-2, 119 Stat. 4 (“CAFA”), because at least

25   one member of each class has a different citizenship from a defendant and the total amount in

26   controversy exceeds $5,000,000. Thus, this Court has subject matter jurisdiction over this action

27   pursuant to 28 U.S.C. § 1332.

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 1           4.       Venue is proper in the Northern District of California pursuant to 28 U.S.C. §

 2   1391(b)(2) because a substantial part of the events or omissions giving rise to the claim occurred,

 3   or a substantial part of property that is the subject of the action is situated in this District.

 4          5.        Intradistrict Assignment. Pursuant to Civil Local Rule 3-2(c) and (d),

 5   assignment to the San Francisco Division is proper because a substantial part of the events or

 6   omissions which give rise to claims set forth herein occurred in San Francisco.

 7                                              III.     PARTIES

 8   A.       Plaintiffs

 9            6.      Plaintiff Circle Click Media LLC (“Circle Click”) is, and at all times relevant

10   hereto was, a California limited liability company, organized, existing, and operating under the

11   laws of California, with a principal place of business in San Francisco, California.

12            7.      Plaintiff Metro Talent, LLC (“Metro Talent”) is, and at all times relevant hereto

13   was, a California limited liability company, organized, existing, and operating under the laws of

14   California, with a principal place of business in California.

15            8.      Plaintiff CTNY Insurance Group LLC (“CTNY”) is, and at all times relevant

16   hereto was, a Connecticut limited liability company organized and existing under the laws of

17   Connecticut doing business in New York.

18   B.       Defendants

19            i)      Regus Management Group, LLC

20            9.      Defendant Regus Management Group, LLC (“Regus Management”) is a limited

21   liability company organized and existing under the laws of Delaware doing business in California.

22   Regus Management is owned entirely by Regus plc and, upon information, is an affiliate of Regus

23   Business Centre LLC and HQ Global Workplaces LLC.

24            10.     Regus Management entered into agreements with Circle Click and Metro Talent in

25   California. Defendant Regus Management has purposefully availed itself of the privilege of

26   conducting activities within California and the claims of Plaintiffs Circle Click and Metro Talent

27   arise out of Regus Management’s California-related activities.

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 1           11.     Regus Management conducts activities in California that are substantial and

 2   continuous and systematic. Such activities have, upon information and belief, been conducted for

 3   at least several years, and include, inter alia, the following:

 4                   a.      Regus Management is registered to do business with the California

 5   Secretary of State and has designated an agent for service of process in California;

 6                   b.      Upon information and belief, Regus Management enters into agreements

 7   with tenants in Bakersfield, Campbell, Carlsbad, Costa Mesa, El Segundo, Folsom, Glendale,

 8   Irvine, Laguna Hills, Long Beach, Los Angeles, Mountain View, Newport Beach, Ontario,

 9   Orange, Palo Alto, Pasadena, Petaluma, Pleasanton, Redwood City, Riverside, Rolling Hills,

10   Roseville, Sacramento, San Bruno, San Diego, San Francisco (17 locations in San Francisco), San

11   Jose, San Mateo, San Rafael, San Ramon, Santa Clara, Santa Monica, West Hollywood, Walnut

12   Creek, and Woodland Hills (the “California Locations”);

13                   c.      Upon information and belief, Regus Management has employees in the

14   California Locations;

15                   d.      Upon information and belief, Regus Management leases office space in the

16   California Locations;

17                   e.      Upon information and belief, Regus Management derives substantial

18   revenues from operations within California; and

19                   f.      Upon information and belief, Regus Management markets and advertises to

20   tenants in California via the internet.

21           ii)     Regus Business Centre LLC

22           12.     Defendant Regus Business Centre LLC (“Regus Business Centre”) is a limited

23   liability company organized and existing under the laws of Delaware doing business in California.

24   Upon information and belief, Regus Business Centre is a subsidiary of Regus plc and an affiliate

25   of Regus Management and HQ Global Workplaces LLC.

26           13.     Upon information and belief, Regus Business Centre conducts activities in

27   California that are substantial and continuous and systematic. Such activities have, upon

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 1   information and belief, been conducted for at least several years, and include, inter alia, the

 2   following:

 3                   a.      Regus Business Centre is registered to do business with the California

 4   Secretary of State and has designated an agent for service of process in California;

 5                   b.      Upon information and belief, Regus Business Centre leases office space in

 6   the California Locations;

 7                   c.      Upon information and belief, Regus Business Centre derives substantial

 8   revenues from operations within California; and

 9                   d.      Upon information and belief, Regus Business Centre markets and

10   advertises to tenants in California via the internet.

11           iii)    Regus plc

12           14.     Defendant Regus plc is a foreign public limited company incorporated and

13   registered in Jersey, Channel Islands. Regus plc conducts its activities in California and New

14   York through its subsidiaries and affiliates. Regus plc is, and at all times relevant hereto was, the

15   parent company, directly or indirectly, of Regus Management, Regus Business Centre, and HQ

16   Global Workplaces LLC, and, upon information and belief, directly exercised control over the

17   conduct of each.

18           15.     Regus plc conducts activities in California that are substantial and continuous and

19   systematic. Such activities have, upon information and belief, been conducted for at least several

20   years, and include, inter alia, the following:

21                   a.      Regus plc offers licensed California real estate brokers and agents referral

22   fees for introductions and/or referrals of tenants to Regus;

23                   b.      Regus plc Chief Executive Officer Mark Dixon has communicated to

24   Plaintiff Circle Click and, upon information and belief, other California tenants;

25                   c.      Regus plc generates e-mails from California to one or more tenants in

26   California as part of its business operations; and

27                   d.      Upon information and belief, Regus plc has derived substantial revenues

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 1   from operations in California.

 2                   e.      Regus plc owns and operates the internet website www.regus.com (the

 3   “Regus Website” or the “Website”) which currently i) lists office space for lease in the California

 4   Locations, ii) hosts and provides interactive features including, but not limited to, “Book a Tour”

 5   of office space, request a “Quick Quote,” and “Contact Us,” and iii) upon information and belief,

 6   earns substantial revenues from transactions with California businesses at the California Locations.

 7           16.     Upon information and belief, Regus Management, Regus Business Centre, and HQ

 8   Global Workplaces LLC perform services of special importance to Regus plc. Upon information

 9   and belief, but for Regus Management, Regus Business Centre, and HQ Global Workplaces LLC,

10   Regus plc would have to perform California business operations itself; however, Regus plc has

11   incorporated subsidiaries and uses instrumentalities to operate and administer Regus plc’s

12   California operations. Upon information and belief, Regus plc uses Regus Management and HQ

13   Global Workplaces LLC as marketing conduits.

14           17.     Upon information and belief, at all times relevant hereto, Defendants Regus

15   Management, Regus Business Centre, and HQ Global Workplaces LLC were acting as the agents,

16   ostensible agents, employees, servants, partners, aiders and abettors, co-conspirators, and/or joint

17   venturers of Regus plc, and in performing the acts and course of conduct set forth herein,

18   Defendants were acting within the course and scope of such agency or employment, and

19   Defendant Regus plc approved, ratified, permitted, condoned and/or affirmed the acts and course

20   of conduct set forth herein.

21           iv)     HQ Global Workplaces LLC

22           18.     Defendant HQ Global Workplaces LLC (“HQ”), is a company organized under the

23   laws of Delaware doing business in California.

24           19.     HQ submits Regus invoices to California tenants and, upon information and belief,

25   HQ had responsibility for refunding the security deposits relating to the agreements with Circle

26   Click and Metro Talent in California. Defendant HQ has purposefully availed itself of the

27   privilege of conducting activities within California and the claims of Plaintiffs Circle Click and

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 1   Metro Talent arise out of HQ’s California-related activities.

 2               20.   HQ conducts activities in California that are substantial and continuous and

 3   systematic. Such activities have, upon information and belief, been conducted for at least several

 4   years, and include, inter alia, the following:

 5                     a.     HQ is registered to do business with the California Secretary of State and

 6   has designated an agent for service of process in California;

 7                     b.     Upon information and belief, HQ submits Regus invoices to tenants in the

 8   California Locations and HQ has responsibility for refunding security deposits to numerous

 9   tenants in the California Locations;

10                     c.     Upon information and belief, HQ processes payments assessed to tenants in

11   California;

12                     d.     Upon information and belief, HQ derives substantial revenues from

13   operations within California; and

14                     e.     Upon information and belief, HQ markets to tenants in California via the

15   internet.

16               v)    The Defendants Are the Alter Egos of Each Other

17               21.   There is such unity of interest and ownership that separate personalities of the

18   Defendants no longer exist and failure to disregard their separate identities would result in fraud

19   and/or injustice. Regus makes no distinction between entities when using the Regus logo in

20   connection with marketing. Regus describes its own operations to its potential and actual tenants

21   as if such operations are conducted by a single entity. Without distinction between entities, Regus

22   indicates that its “Locations in California” include all of the California Locations. Regus

23   represents to its investors that Regus is a unified entity. Regus employees make no distinction

24   regarding their employer and simply indicate that they are employed by “Regus” in

25   communications with tenants. Upon information and belief, officers and directors of Regus plc,

26   including, but not limited to, Mark Dixon, exercise control over the internal affairs and/or daily

27   operations of Regus Management, Regus Business Centre, and HQ.

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 1            22.     Plaintiffs are ignorant of the true names and capacity of Defendants sued herein as

 2   Does 1-50, and alleges that Does 1-50 are agents of the other Defendants, and therefore, sue these

 3   Defendants by such fictitious names. Plaintiffs will amend this Complaint to allege their true

 4   names and capacities of Does 1-50 when ascertained.

 5                  IV.    FACTS COMMON TO PLAINTIFFS AND THE CLASSES

 6   A.      Advertising Scheme

 7            23.     Regus advertises its office space for rent on the Regus Website,

 8   www.craigslist.com (“Craigslist”), television, and radio.

 9            24.     Since at least October 8, 2003, Regus has represented on its Website (available to

10   California and New York viewers), and, upon information and belief, other advertising mediums,

11   that it offers a simple one-page agreement, significant savings as compared to traditional offices,

12   and flexible office space arrangements.

13            25.     On October 8, 2003, in pertinent part, the Regus Website advertised the following:

14                    • Save money
                      Independent surveys show that you can save up to 78 % [sic] compared
15                    to traditional office costs. There's no need to tie up capital - with Regus,
                      you have the offices you need when and where you need them.
16
                      • Flexibility for your business
17
                      Walk into a Regus office and get down to business instantly ,[sic] taking
18                    advantage of opportunities as they arise. With Regus, you only pay for
                      what you need when you need it.
19
                      • Keep it simple
20                    Our plain-English, one page contract takes just 10 minutes to complete .
                      [sic] It really is that simple.
21
     (Emphasis in original).
22
              26.     On November 26, 2004, in pertinent part, the Regus Website advertised the
23
     following:
24
                      •   Fully equipped offices – “on demand” and ideal for up to 10 people.
25                    •   World-class offices in prime buildings across the globe, and right next
                          door.
26
                      •   Onsite IT support and business services.
27                    •   Videoconferencing, meeting rooms and training rooms available.
                      •   No up front capital expenditure required.
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 1             •   Flexible terms and one-page agreements.

 2                                                  ***

 3             1. What is an executive suite ? [sic] How is it different from a traditional
               office?
 4

 5             Regus executive offices, in our 700 prime business centres, are
               conveniently located near major transportation hubs. With Regus
 6             executive suites you get a complete, professional executive office
               environment included in one monthly fee. You'll also get professional
 7             receptionists, state-of-the-art telecom and IT services, kitchen areas and
               cyber cafés.
 8

 9             With traditional office space, you must navigate the costly and time-
               consuming world of setting up and configuring your workspace. Before
10             you can be productive you must:
11             • pay for altering office space
12
               • sign a fixed-length office lease
13
               • provide office furniture
14
               • contract with multiple service providers (phone, Internet, maintenance)
15

16             • hire an office staff

17             • buy or rent office equipment

18             • build or configure connectivity infrastructure
19
               • spend time, resources and money
20
               With Regus executive suites, your office space solutions are a single
21             phone call or mouse click away. Simply plug in your PC and start
               working…leave the rest to us. The Regus Business Centre network
22             provides a professional executive office environment with high quality
23             facilities and resources - instantly.

24             2. What types of terms come with Regus executive suites?

25             With traditional office space you often need an attorney to negotiate a
               complicated office lease before you can rent or lease an office. But using a
26             Regus executive suite for your office space solution couldn't be easier,
27             especially when compared to renting traditional office space. We have a
               one-page executive office agreement instead of a 20-page office space
28
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 1                  lease. We give you control over the term of your executive office
                    agreement – from 3 months to 5 years - so you have the ability to grow, as
 2                  your business needs change. And with our professional executive office
                    staff you have on-demand access to administrative support and office
 3                  equipment without hiring a permanent staff or capital investment. With
 4                  Regus executive suites, your office space solutions are a single phone call
                    or mouse click away. The Regus Business Centre network provides a
 5                  professional executive office environment with high quality facilities and
                    resources - instantly.
 6

 7          27.     On November 18, 2005, and February 20, 2006, in pertinent part, the Regus
 8   Website advertised the following:
 9
                    Match our office rental options to your business needs
10                  With 750 prime locations worldwide, we are the global leader in providing
                    all types of businesses with professional, fully equipped office space for
11                  rent. Our sensible pricing, flexible lease terms and simple, one-page
12                  agreements make us your only choice for staying agile in a dynamic
                    business environment. Contact us today to learn about our office rental
13                  and executive suite options.

14   (Emphasis in original).
15           28.    On April 13, 2007, in pertinent part, the Regus Website advertised the following:
16
                    Match our office rental options to your business needs
17                  With 950 prime locations worldwide, we are the global leader in providing
                    all types of businesses with professional, fully equipped office space for
18
                    rent. Our sensible pricing, flexible lease terms and simple, one-page
19                  agreements make us your only choice for staying agile in a dynamic
                    business environment. Contact us today to learn about our office rental
20                  and executive suite options.

21   (Emphasis in original).
22           29.    On July 2, 2008, in pertinent part, the Regus Website advertised the following:
23                  Key Benefits
24                  •   Flexibility - you can grow, relocate or downsize with minimal
25                      disruption.
                    •   Ease – From your contract, to move in and your time with us. We
26                      make having an office simple.
                    •   Support – there is a team of business professionals in your building as
27                      an extension of your team.
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 1                  •    A global network – our worldwide network of 950 locations in 70
                         countries means your business is wherever you are and you are in good
 2                       hands.
                    •    Affordability – our solutions are designed to fit within your budget at
 3                       a fixed monthly price on terms to suit you.
 4   (Emphasis in original).
 5           30.    On June 25, October 3, November 25, and December 2, 2009, January 2, February
 6   11, March 31, April 29, May 31, June 23, and September 19, 2010, January 5, and May 25, 2011,
 7   and April 30, 2012, and upon information and belief, at least from June 25, 2009, through the
 8   present, Regus Website has advertised the following in document entitled “A Smart Way of
 9   Working:”
10                             Offices
11                  Fully furnished and equipped
12                                                          ***
13                  It all adds up
14                  Save up to 60% on office costs
                    • 50-60% saving on offices…
15
                    One monthly invoice…           All inclusive simple monthly payments.
16

17                                                          ***

18
                    Simple, easy and flexible
19                  •   Simple one page agreement
                    •   No additional complications
20                  •   Single monthly invoice
                    •   Sign today, start tomorrow
21                  •   Flex your requirements
22                  •   Agreements can be transferred to any other Regus location

23
             31.    Upon information and belief, on or about March 9, 2012, Regus broadcasted a
24
     commercial featuring actress LeeAnne Locken wherein Regus represents:
25

26                  I don’t have a lease so I don’t have to budget for stuff like phones, IT
                    guys, and artwork for the lobby. Instead, I pay one low monthly rate that
27                  gives me a beautiful lobby that impresses my clients, a friendly
                    receptionist, a fully furnished office, a place to meet, and a place to
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 1                   brainstorm with my fellow new way workers. We wonder why more
                     people don’t realize that the new way to work is the best way to
 2                   work….Call 1-800-OFFICES or visit regus.com/tv.
 3
             32.     Regus posts listings of office space for lease on Craigslist directed to California
 4
     and New York tenants, which advertisements include the monthly payment amount along with
 5
     statements suggesting that the price listed is all inclusive. Regus Craigslist postings routinely
 6
     show pictures of fully furnished offices with desks and telephones.
 7
     B.      Monthly Fees Charged to Tenants
 8
             33.     Defendants provide a one-page office agreement (the “Office Agreement”) to
 9
     tenants that identifies the location of the office to be leased, the duration of the lease, the amount
10
     of the first month’s fee, the amount of the security deposit, and the “monthly payment” thereafter.
11
             34      Defendants provide the Office Agreement to tenants as either a hard copy version
12
     or an online version. The two versions of the Office Lease do not differ in any material way.
13
             35.     After tenants begin their lease, Regus routinely assesses total monthly amounts
14
     that exceed the total monthly payments indicated in the Office Agreement.
15
             36.     The Office Agreement fails to disclose any goods, services, penalties, and/or taxes
16
     for which Regus assesses charges and the amounts or methods of calculation of Regus’ charges
17
     associated with such goods, services, penalties, and/or taxes.
18
             37.     Regus also makes available to tenants a two-column document written in
19
     extremely small type that is no greater than five-point Tahoma font (the “Fine Print”). If the Fine
20
     Print were written in 12-point Tahoma font, the document would extend onto eight pages.
21
             38.      The Fine Print fails to indicate the amounts of any fees charged by Regus.
22
             39.     Once tenants enter into a lease with Regus, tenants cannot cancel the lease prior to
23
     the expiration of its term.
24
             40.     If tenants fail to pay the fees invoiced by Regus, they are subject to penalties.
25
             41.     Regus fails to adequately disclose fees in excess of the monthly payment indicated
26
     in the Office Agreement. The fees charged by Regus in excess of the monthly payment indicated
27
     in the Office Agreement are unfair and unreasonable.
28
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 1           42.     Regus has acted unfairly and deceptively towards its tenants by systematically

 2   charging tenants fees in excess of the monthly payment indicated in the Office Agreement.

 3                                     V.      PLAINTIFFS’ FACTS

 4   A.      Plaintiff Circle Click

 5           43.     Plaintiff Circle Click executed an Office Agreement for two offices at 50

 6   California Street, 15th Floor, San Francisco, California 94111, on or about April 29, 2011. The

 7   Office Agreement commences on May 1, 2011, and concludes on May 31, 2012.

 8           44.     The Office Agreement indicates that the total initial payment (including the

 9   security deposit) is $4,921. The Office Agreement indicates that the total monthly payment after

10   the first month is $2,461.

11           45.     Circle Click paid a security deposit to Regus.

12           46.     Circle Click received invoices during the following months for the following

13   amounts:

14

15                         Month                                           Amount

16                       April 2011                                       $2,559.67

17                        May 2011                                        $2,280.54

18                        June 2011                                       $2,618.02

19                        July 2011                                       $3,247.89

20                      August 2011                                       $6,653.79

21                    September 2011                                      $3,350.78
22                      October 2011                                      $3,175.00
23                     November 2011                                      $3,161.48
24                     December 2011                                      $3,154.71
25                      January 2012                                      $1,621.35
26                     February 2012                                      $3,154.71
27                       March 2012                                       $3,154.86
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 1
                           April 2012                                        $3,157.56
 2
                           May 2012                                          $1,533.54
 3

 4           47.      In addition, Circle Click was charged $1,660.22 for June of 2012 despite the fact

 5   that the Office Agreement expired in May of 2012.

 6           48.      During the term of Circle Click’s tenancy, Regus charged Circle Click for all of

 7   the following:

 8                    a.      Kitchen amenities. Regus assessed a $30 per person monthly charge to

 9   Plaintiff Circle Click in excess of the monthly office payment amount indicated in the Office

10   Agreement. Neither Regus’ practice of assessing this charge nor the amount of the charge is

11   disclosed in the Office Agreement or the Fine Print. The charge was assessed regardless of

12   whether any kitchen amenities were used.

13                    b.      Telephone line. Regus assessed a $49.00 charge per month per person to

14   Circle Click for telephone lines. Neither Regus’ practice of assessing this charge nor the amount

15   of the charge is disclosed in the Office Agreement or the Fine Print.

16                    c.      Telecom handset. Regus assessed a $99.00 charge per month per office to

17   Circle Click for use of “Telecom Handset” that had already been installed in the offices rented by

18   Circle Click. Neither Regus’ practice of assessing this charge nor the amount of the charge is

19   disclosed in the Office Agreement or the Fine Print. Upon information and belief, the retail value

20   of the two handsets provided by Regus does not exceed $99.00, yet Regus charged Circle Click a

21   total of $222.75 (including purported taxes) per month for use of the handsets during the term of

22   the Office Agreement.

23                    d.      “Free Talk.” Notwithstanding its name, Regus assessed a $49.00 charge

24   per month to Circle Click for “Free Talk.” Neither Regus’ practice of assessing this charge nor the

25   amount of the charge is disclosed in the Office Agreement or the Fine Print. The “Free Talk”

26   charge purportedly includes unlimited local and long distance charges.

27                    e.      Local telephone. Regus assessed charges to Circle Click for local

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 1   telephone usage. Neither Regus’ practice of assessing this charge nor the amount of the charge is

 2   disclosed in the Office Agreement or the Fine Print. This charge for local telephone usage was

 3   assessed in addition to the “Free Talk” charge.

 4                   f.     Long distance telephone. Regus assessed charges to Circle Click for long

 5   distance telephone usage. Neither Regus’ practice of assessing this charge nor the amount of the

 6   charge is disclosed in the Office Agreement or the Fine Print. This charge for long distance

 7   telephone usage was assessed in addition to the “Free Talk” charge.

 8                   g.     International telephone. Regus assessed charges to Circle Click for calls

 9   to Canada. Neither Regus’ practice of assessing this charge nor the amount of the charge is

10   disclosed in the Office Agreement or the Fine Print. This charge for international telephone usage

11   was assessed in addition to the “Free Talk” charge.

12                   h.     Internet bandwidth. Regus assessed a total monthly charge of $250

13   (comprised of $150.00 for “BoD 512k Package” and two $50.00 “BoD Infrastructure Fee[s]”) to

14   Circle Click for internet bandwidth. Neither Regus’ practice of assessing this charge nor the

15   amount of the charge is disclosed in the Office Agreement or the Fine Print.

16                   i.     “Office Restoration” and/or “Wear and Tear.” Regus assessed charges

17   to Circle Click purportedly for “office restoration service” or “wear and tear.” Neither Regus’

18   practice of assessing these charges nor the amount of the charges is disclosed in the Office

19   Agreement. The amount of these charges is not disclosed in the Fine Print and bears no reasonable

20   relationship to the service purportedly performed.

21                   j.     “Business Continuity Service.” Regus assessed charges to Circle Click

22   purportedly for handling mail, faxes, telephone calls, and visitors upon expiration of the Office

23   Agreement. Neither Regus’ practice of assessing these charges nor the amount of the charges is

24   disclosed in the Office Agreement. The amount of this charge is not disclosed in the Fine Print

25   and bears no reasonable relationship to the services purportedly performed.

26                   k.     Taxes. Regus assessed charges to Circle Click as taxes on, inter alia, the

27   telecom handset and kitchen amenities fees. Neither the amount nor the percentage of these

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 1   charges is disclosed in the Office Agreement or the Fine Print. In addition, the basis and

 2   calculation for the taxes is not adequately disclosed in monthly invoices.

 3                   l.         Penalties. Regus assessed charges to Circle Click as a “Penalty” equal to

 4   $25 plus 5% of the amount due on overdue balances under $1,000 or $50 plus 5% of the amount

 5   due on overdue balances of $1,000 or greater. Neither Regus’ practice of assessing these charges

 6   nor the amount of the charges is disclosed in the Office Agreement. The amount of these charges

 7   is not disclosed in the Fine Print and does not represent the result of a reasonable effort by Regus

 8   to estimate fair compensation for any loss that Regus may sustain.

 9           49.      With respect to the phone and internet charges set forth in items of the preceding

10   paragraph, Regus caused Circle Click to incur such charges because of Regus’ practice of refusing

11   to permit tenants to use voice over IP (“VOIP”) without paying additional fees or allowing tenants

12   to contract with outside vendors. Such practice is not disclosed in the Office Agreement or the

13   Fine Print.

14           50.     Regus used the security deposit paid by Circle Click as leverage to compel

15   payment of other charges allegedly due under the Office Agreement.

16           51.      Regus' charges have caused Plaintiff Circle Click to suffer harm in the amount of

17   the unfair and unreasonable fees paid by Circle Click to Regus.

18   B.      Plaintiff Metro Talent

19           52.     Plaintiff Metro Talent executed an Office Agreement for one office at 6303

20   Owensmouth Avenue, 10th Floor, Woodland Hills, California 91367, on or about October 8, 2011.

21   The Office Agreement commenced on November 1, 2011, and concludes on April 30, 2013.

22           53.     The Office Agreement indicates that the total initial payment (including the

23   security deposit) is $1,545. The Office Agreement indicates that the total monthly payment after

24   the first month is $515.

25           54.     Metro Talent paid a security deposit to Regus.

26           55.     Metro Talent received invoices during the following months for the following

27   amounts:

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 1
                             Month                                         Amount
 2
                          October 2011                                      $518.85
 3
                      November 2011                                         $518.85
 4
                      December 2011                                         $518.85
 5
                          January 2012                                      $569.79
 6
                          February 2012                                     $518.85
 7
                           March 2012                                       $518.85
 8
                           April 2012                                       $518.85
 9
                           May 2012                                         $520.91
10
                           June 2012                                        $586.16
11
                            July 2012                                       $651.20
12
                          August 2012                                       $520.91
13
                      September 2012                                        $518.85
14

15
             56.     During the term of Metro Talent’s tenancy, Regus charged Metro Talent for the
16
     following:
17
                     a.       Kitchen amenities. Regus assessed a $30 monthly charge to Plaintiff
18
     Metro Talent in excess of the monthly office payment amount indicated in the Office Agreement.
19
     Neither Regus’ practice of assessing this charge nor the amount of the charge is disclosed in the
20
     Office Agreement or the Fine Print. The charge was assessed regardless of whether any kitchen
21
     amenities were used.
22
                     b.       Taxes. Regus assessed charges to Metro Talent as taxes on the monthly
23
     office fee and kitchen amenities fees. Neither the amount nor the percentage of these charges is
24
     disclosed in the Office Agreement or the Fine Print. Regus has charged Metro Talent $2.63 in
25
     “tax” on the kitchen amenities fee charge of $30 per month. Regus has also charged Metro
26
     Talent for a “tax” in the amount of $3.85 corresponding with the long term office monthly fee of
27
     $515. The basis and calculation for the taxes are not adequately disclosed in monthly invoices.
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 1                    c.     Penalties. Regus assessed a charge to Metro Talent as a “Penalty” equal to

 2   $25 plus 5% of the amount due on overdue balances under $1,000 or $50 plus 5% of the amount

 3   due on overdue balances of $1,000 or greater. Neither Regus’ practice of assessing this charge nor

 4   the amount of the charge is disclosed in the Office Agreement. The amount of this charge is not

 5   disclosed in the Fine Print and does not represent the result of a reasonable effort by Regus to

 6   estimate fair compensation for any loss that Regus may sustain.

 7              57.   After Metro Talent executed the Office Agreement and was charged a Kitchen

 8   Amenities Fee,” on June 22, 2012, Metro Talent complained via e-mail, through its representative,

 9   to Regus that it was being assessed charges for which it did not agree:

10                    I’m not paying this until someone explains to m[e] why my rent went from
                      $518 to $580+?? We have a signed lease that[] states my rental amount.
11
                58.   On June 28, 2012, via e-mail, a representative of “The Regus Group” responded as
12
     follows:
13

14                    In regards to invoice 392-7262 you were billed your Long Term Office
15                    Monthly fee $515 plus tax, two Kitchen Amenities for June and July
                      $30.00 each plus tax, and Daily Parking Validations of $2.06 Totaling
16                    $586.16. If you have any more questions or concerns to the invoice, please
                      contact your Center Manager….Thanks!
17
                59.   On June 28, 2012, the Regus General Manager responded by e-mail to Metro
18
     Talent as follows:
19
                      The reason for the additional $60 you were charged this month is because
20                    you were billed for the Kitchen Amenity Fee for June and July. This is the
21                    one automatic fee that Regus charges and your account has never been
                      billed this fee. I didn't back bill it all the way back to the original move in
22                    date of November.

23                    Please let me know if you have any questions.
24
                60.   On June 28, 2012, Metro Talent responded via e-mail as follows:
25
                      Please email me another copy of my lease. I'm out of town right now. I'd
26                    like to look it over & have my lawyer take a look at it & see if it states
                      anywhere in there that I agreed to pay a “kitchen fee". I don't believe it
27                    does. This is ridiculous. All of a sudden months later some new charge
28                    that I've never heard of pops up on my bill.
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 1          61.    On June 28, 2012, the Regus General Manager again responded by e-mail
     to Metro Talent as follows:
 2
                     I am more than happy to send you the agreement but I will tell you that the
 3
                     Kitchen Amenity Fee is not mentioned in the service agreement. The
 4                   service agreement only speaks to the monthly rent that you have agreed to
                     pay for the office. The person who sold you the office is the one who
 5                   should have communicated to you the fee regarding the Kitchen Amenity.
 6

 7           62.     On July 11, 2012, Regus sent Metro Talent correspondence stating: “If we do not

 8   receive payment within four (4) days of the date of this communication we will, with regret, have

 9   no option but to begin proceedings to remove all access rights to your office space and our

10   business centres.”

11           63.     In an effort to coerce Metro Talent to pay its unreasonable fees, on July 24, 2012,

12   Regus again sent Metro Talent correspondence indicating, in pertinent part, the following:

13
                     Despite our efforts to ensure that payment for the above referenced
14                   account is resolved, the balance remains unpaid.
15
                     By our prior communication (a copy of which was sent to you via e-mail
16                   or postal notification), we provided you with written notification
                     describing default under the Agreement.
17
                     As of the date of this e-mail, you have failed to cure this default.
18                   Accordingly, the Agreement is terminated immediately and your
19                   license to use premises and the center is hereby revoked. We hereby
                     demand that you vacate the Premises within five (5) days after delivery of
20                   this notice. If you fail to do so we may institute a forcible-detainer or
                     other similar action against you to obtain possession of the Premises. This
21                   matter will immediately be turned over for collection. In addition we
                     reserve the right to pursue all other available legal and equitable remedies,
22                   including litigation against you and others responsible for payment
23                   amounts owed under the Agreement.
     (Emphasis in original).
24
             64.     Regus’ charges have caused Plaintiff Metro Talent to suffer harm in the amount of
25
     the unfair and unreasonable fees paid by Metro Talent to Regus.
26

27

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 1   C.      Plaintiff CTNY Insurance Group

 2           65.     Plaintiff CTNY Insurance Group executed an Office Agreement for one office at

 3   77 Water Street, New York, New York 10005. The Office Agreement commences on June 1,

 4   2011, and concludes on May 31, 2013.

 5           66.     The Office Agreement indicates that the total initial payment (including the

 6   security deposit) is $1,390.35. The Office Agreement indicates that the total monthly payment

 7   after the first month is $649.04.

 8           67.     On July 12, 2012, CTNY Insurance Group received an invoice for a total amount

 9   due of $1,453.74.

10           68.     During the term of CTNY Insurance Group’s tenancy, Regus charged CTNY

11   Insurance Group for the following:

12                   a.      Kitchen amenities. Regus assessed a $30 monthly charge to Plaintiff

13   CTNY Insurance Group in excess of the monthly office payment amount indicated in the Office

14   Agreement. Neither Regus’ practice of assessing this charge nor the amount of the charge is

15   disclosed in the Office Agreement or the Fine Print.

16                   b.      Taxes. Regus assessed charges to CTNY Insurance Group as taxes on

17   the monthly office fee and kitchen amenities fees. Neither the amount nor the percentage of

18   these charges is disclosed in the Office Agreement or the Fine Print. Regus charged CTNY

19   Insurance Group $2.66 in “tax” on the kitchen amenities fee charge of $30 per month. Regus

20   also charged CTNY Insurance Group for a “tax” in the amount of $3.91 corresponding to a

21   monthly fee of $1,106. Regus further charged CTNY Insurance Group for a “tax” in the amount

22   $14.18 on a $99 internet activation fee. The basis and calculation for the taxes are not adequately

23   disclosed in monthly invoices.

24                   c.      Internet Activation. Regus assessed a $99 charge to Plaintiff CTNY

25   Insurance Group in excess of the monthly office payment amount indicated in the Office

26   Agreement. Neither Regus’ practice of assessing this charge nor the amount of the charge is

27   disclosed in the Office Agreement or the Fine Print.

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 1              69.   When CTNY Insurance Group declined to pay Regus’ July 12, 2012 invoice, on or

 2   about August 17, 2012, via e-mail, Regus Center Manager advised CTNY Insurance Group as

 3   follows:

 4                    If we would have to send your case to the third party collector next week,
                      you would still be responsible for the monthly office fees until June 2013.
 5
                      Additional service charges would apply.
 6              70.   Regus’ charges have caused Plaintiff CTNY Insurance Group to suffer harm in the
 7   amount of the unfair and unreasonable fees paid by CTNY Insurance Group to Regus.
 8                              VI.      CLASS ACTION ALLEGATIONS
 9              71.   Plaintiffs Circle Click and Metro Talent bring Counts I-VI on behalf of all persons
10   who paid for Regus office space in California and were assessed charges by Regus over the
11   monthly payment indicated in the Office Agreement or any similar agreement between May 7,
12   2008, and the present (the “California Class”). Plaintiff CTNY Insurance Group brings Counts
13   VII-IX on behalf of all persons who paid for Regus office space in New York and were assessed
14   charges by Regus over the monthly payment indicated in the Office Agreement or any similar
15   agreement between September 24, 2009, and the present (the “New York Class”). Collectively,
16   the California Class and the New York Class are referred to herein as the “Classes.” Excluded
17   from the Classes are Defendants, Defendants’ affiliates, parents, subsidiaries, employees, officers,
18   directors, and co-conspirators. Also excluded from the Classes is any judge, justice, or court
19   officer involved with this matter and the members of their immediate families and judicial staff.
20              72.   This action is properly maintainable as a class action pursuant to Fed. R. Civ. P.
21   23. The Classes are so numerous that joinder of all members is impracticable. Plaintiffs Circle
22   Click and Metro Talent are unaware of the precise number and identities of the members of the
23   California Class, but due to the nature of the trade and commerce involved and the nature and
24   scope of Regus’ operations, Plaintiffs Circle Click and Metro Talent are informed and believe that
25   the total number of members of the California Class exceeds 100 and the members of the
26   California Class are so numerous and geographically dispersed across the State of California that
27   joinder of all Class members would be impracticable. Plaintiff CTNY Insurance Group is unaware
28
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 1   of the precise number and identities of the members of the New York Class, but due to the nature

 2   of the trade and commerce involved and the nature and scope of Regus’ operations, Plaintiff

 3   CTNY Insurance Group is informed and believes that the total number of members of the New

 4   York Class exceeds 100 and the members of the New York Class are so numerous and

 5   geographically dispersed across the State of New York that joinder of all Class members would be

 6   impracticable. Plaintiffs are informed and believe that the members of the Classes are

 7   ascertainable through the records of Regus.

 8           73.     Questions of law and fact common to the Classes predominate over any questions

 9   unique to individual members of the Classes. The questions of law and fact common to the

10   California Class include, but are not limited to, the following:

11                   a.      Whether the charges assessed by Regus to its California tenants in excess

12   of the monthly payment amount indicated in the Office Agreement (or similar agreements) are

13   disclosed in the Office Agreement (or similar agreements);

14                   b.      Whether the charges assessed by Regus to its California tenants are

15   adequately disclosed in the Office Agreement (or similar agreements);

16                   c.      Whether Defendants’ policy or practice of assessing charges to Regus’

17   California tenants in excess of the monthly payment indicated in the Office Agreement (or similar

18   agreements) constitutes an unlawful, unfair, or fraudulent business act or practice within the

19   meaning of the Unfair Competition Law, Business & Professions Code § 17200, et seq.;

20                   d.      Whether Defendants’ advertising regarding the terms and conditions

21   applicable to the office space product offered by Regus to prospective California tenants

22   constitutes false or misleading advertising within the meaning of Business & Professions Code §

23   17500, et seq., or violates the Unfair Competition Law, Business & Professions Code § 17200, et

24   seq.;

25                   e.      Whether Defendants’ advertising regarding the price of the office space

26   product offered by Regus to prospective California tenants constitutes false or misleading

27   advertising within the meaning of Business & Professions Code § 17500, et seq., or violates the

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 1   Unfair Competition Law, Business & Professions Code § 17200, et seq.;

 2                   f.      Whether Defendants concealed and/or suppressed charges that Regus

 3   would assess in excess of the monthly payment indicated in the Office Agreement (or similar

 4   agreements) to California tenants;

 5                   g.      Whether Defendants negligently misrepresented the total monthly payment

 6   in connection with the Office Agreement (or similar agreements);

 7                   h.      Whether Defendants intentionally misrepresented the total monthly

 8   payment that Regus would assess to California tenants pursuant to the Office Agreement (or

 9   similar agreements);

10                   i.      Whether Defendants have been unjustly enriched by the wrongs

11   complained of herein and, if so, whether it would be against equity and good conscience to permit

12   Defendants to retain the ill-gotten benefits that were received from Plaintiffs Circle Click, Metro

13   Talent, and the California Class;

14                   j.      Whether Plaintiffs Circle Click and Metro Talent and the California Class

15   have suffered harm by the wrongs complained of herein and, if so, the class-wide measure of harm

16   and the nature and extent of other relief that should be afforded, including, but not limited to,

17   whether the California Class should recover the entire amount of Regus’ charges assessed in

18   excess of the monthly payment amount indicated in the Office Agreement (or similar agreements);

19                   k.      Whether Defendants should be enjoined from continuing to assess charges

20   to Regus’ California tenants in excess of the monthly payment indicated in the Office Agreement

21   (or similar agreements);

22                   l.      Whether Defendants should be enjoined from continuing to engage in their

23   advertising regarding the terms and conditions applicable to the office space product offered by

24   Regus to California tenants; and

25                   m.      Whether Defendants should be enjoined from continuing to engage in their

26   advertising regarding the price of the office space product offered by Regus to California tenants.

27           74.     The questions of law and fact common to the New York Class include, but are not

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 1   limited to, the following:

 2                   a.      Whether the charges assessed by Regus to its New York tenants in excess

 3   of the monthly payment amount indicated in the Office Agreement (or similar agreements) are

 4   disclosed in the Office Agreement (or similar agreements);

 5                   b.       Whether the charges assessed by Regus to its New York tenants are

 6   adequately disclosed in the Office Agreement (or similar agreements);

 7                   c.       Whether Defendants’ policy or practice of assessing charges to Regus’

 8   New York tenants in excess of the monthly payment indicated in the Office Agreement (or similar

 9   agreements) constitutes deceptive practices within the meaning of New York State General

10   Business Law § 349;

11                   d.      Whether Defendants’ advertising regarding the terms and conditions

12   applicable to the office space product offered by Regus to prospective New York tenants

13   constitutes unlawful false advertising within the meaning of New York State General Business

14   Law § 350;

15                   e.      Whether Defendants’ advertising regarding the price of the office space

16   product offered by Regus to prospective New York tenants constitutes unlawful false advertising

17   within the meaning of New York State General Business Law § 350;

18                   f.      Whether Defendants have been unjustly enriched by the wrongs

19   complained of herein and, if so, whether it would be against equity and good conscience to permit

20   Defendants to retain the ill-gotten benefits that were received from Plaintiff CTNY Insurance

21   Group and the New York Class;

22                   g.      Whether Plaintiff CTNY Insurance Group and the New York Class have

23   suffered harm by the wrongs complained of herein and, if so, the class-wide measure of harm and

24   the nature and extent of other relief that should be afforded, including, but not limited to, whether

25   the New York Class should recover the entire amount of Regus’ charges assessed in excess of the

26   monthly payment amount indicated in the Office Agreement (or similar agreements);

27                   h.      Whether Defendants should be enjoined from continuing to assess charges

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 1   to Regus’ New York tenants in excess of the monthly payment indicated in the Office Agreement

 2   (or similar agreements);

 3                   i.      Whether Defendants should be enjoined from continuing to engage in their

 4   advertising regarding the terms and conditions applicable to the office space product offered by

 5   Regus to New York tenants; and

 6                   j.      Whether Defendants should be enjoined from continuing to engage in their

 7   advertising regarding the price of the office space product offered by Regus to New York tenants.

 8           75.     The claims of Plaintiff Circle Click and Metro Talent are typical of the claims of

 9   the other members of the California Class in that Plaintiffs Circle Click and Metro Talent are

10   members of the California Class and have been harmed by the actions of Defendants, including,

11   inter alia, Regus’ false or misleading advertising scheme and by the assessment of charges to

12   California tenants by Regus over the monthly payment indicated in the Office Agreement or

13   similar agreements. The claims of Plaintiff CTNY Insurance Group are typical of the claims of

14   the other members of the New York Class in that Plaintiff CTNY Insurance Group is a member of

15   the New York Class and has been harmed by the actions of Defendants, including, inter alia,

16   Regus’ deceptive advertising scheme and by the assessment of charges to New York tenants by

17   Regus over the monthly payment indicated in the Office Agreement or similar agreements.

18           76.     Plaintiffs Circle Click and Metro Talent will fairly and adequately represent and

19   protect the interests of the California Class members and have no interests antagonistic to or in

20   conflict with those of the California Class. Plaintiff CTNY Insurance Group will fairly and

21   adequately represent and protect the interests of the New York Class members and has no interests

22   antagonistic to or in conflict with those of the New York Class.

23           77.     Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group have retained

24   competent counsel with experience in class action and other complex litigation who will

25   vigorously represent the interests of the Classes.

26           78.     Certification of the Classes is appropriate pursuant to Fed. R. Civ. P. 23(b)(1)

27   because the prosecution of separate actions by individual members of the Classes would create the

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 1   risk of inconsistent and varying adjudications with respect to individual members of the Classes

 2   which would establish incompatible standards of conduct for Defendants, or adjudications with

 3   respect to individual members of the Classes which would, as a practical matter, be dispositive of

 4   the interests of the other members not parties to the adjudications or substantially impair or impede

 5   their ability to protect their interests.

 6            79.     Certification of the Classes is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)

 7   because the Defendants have acted or refused to act on grounds generally applicable to the Classes

 8   making final declaratory and injunctive relief appropriate with respect to the Classes as a whole.

 9   The Classes are entitled to injunctive relief to remedy Defendants’ violations of the law of the

10   Defendants.

11            80.     Certification of the Classes is appropriate pursuant to Fed. R. Civ. P. 23(b)(3)

12   because questions of law and fact common to the Classes predominate over any questions

13   affecting only individual members of the Classes, and a class action is superior to other available

14   methods for fairly and efficiently adjudicating the controversy. The harm suffered by the

15   individual members of the Classes is small compared to the expense and burden of individual

16   prosecution of this litigation. Class certification is superior because it obviates the need for unduly

17   duplicative litigation which may result in inconsistent judgments about the practices of the

18   Defendants. Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group know of no

19   difficulty that will be encountered in the management of this litigation that would preclude its

20   maintenance as a class action.

21

22                                       VII.    CLAIMS FOR RELIEF

23                                                 COUNT I

24                   VIOLATIONS OF CALIFORNIA BUSINESS & PROFESSIONS

25                                           CODE § 17200, ET SEQ.

26                                  (California Class against All Defendants)

27            81.     Plaintiffs re-allege and incorporate each and every paragraph as if fully set forth

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 1   herein.

 2             82.   This cause of action is brought on behalf of Plaintiffs Circle Click, Metro Talent,

 3   and the California Class, in accordance with the provisions of California Business & Professions

 4   Code § 17200, et seq. Plaintiffs and the California Class have lost money or property as a result of

 5   the actions of the Defendants as set forth herein.

 6             83.   Defendants actions as alleged in this Complaint constitute unfair and deceptive

 7   business practices within the meaning of California Business & Professions Code § 17200 in that

 8   Defendants’ actions were unlawful, unfair, and/or fraudulent and because Defendants have made

 9   unfair, deceptive, untrue and/or misleading statements within the meaning of California Business

10   & Professions Code § 17200, et seq.

11             84.   Defendants’ business practices are to assess charges above the monthly payment

12   indicated in the Office Agreement that are not adequately disclosed to Plaintiffs and the California

13   Class. Defendants’ business acts and practices are unfair because they offend established public

14   policy and/or are immoral, unethical, oppressive, unscrupulous, misleading and/or substantially

15   injurious to clients. Defendants’ business practices hurt competition and are a restraint on trade.

16             85.   Defendants’ business practices are to require the payment of monies as a

17   condition of continuing the lease without providing for the amounts of said monies in the Office

18   Agreement or Fine Print, thereby constituting a violation of California Civil Code § 1950.8.

19   Defendants’ business acts and practices are unlawful because the assessment of such charges is

20   prohibited under California Civil Code § 1950.8.

21             86.   Defendants’ business practices include charging penalties based on a percentage

22   of the entire alleged unpaid principal balance, plus a fixed fee, which constitutes an unreasonable

23   penalty, within the meaning of California Civil Code § 1671(b). Defendants’ business acts and

24   practices are unlawful because the assessment of such charges is prohibited under California

25   Civil Code § 1671(b). The calculation of the assessment of penalties charged by Regus does not

26   bear a reasonable nexus to the amount of damages suffered by Regus.

27             87.   Defendants represent by the Office Agreement that a total monthly payment will

28
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 1   be due in the amount indicated in the Office Agreement. However, additional charges not

 2   adequately disclosed are routinely assessed beyond the total monthly payment indicated in the

 3   Office Agreement, constituting a business practice in violation California Civil Code §§ 1572,

 4   1709, and/or 1710. Defendants’ conduct is unlawful because such representations are prohibited

 5   under California Civil Code §§ 1572, 1709, and/or 1710.

 6             88.   Defendants’ advertising and promotional materials and efforts, including, but not

 7   limited to, advertising on the Regus Website, www.craigslist.com, and the Office Agreement

 8   document itself, contain false and/or misleading advertising within the meaning of Business &

 9   Professions Code § 17500, et seq., because Defendants either knew or reasonably should have

10   known that such advertising is or was untrue and/or misleading. Defendants’ conduct is unlawful

11   because Business & Professions Code § 17500, et seq., prohibits such untrue and/or misleading

12   advertising and makes the same a misdemeanor.

13             89.   Defendants’ advertising and failure to clearly and conspicuously disclose

14   Defendants’ scheme, practice, and intent to assess additional undisclosed fees deceives

15   consumers, customers, and/or the public, and, therefore, constitute a fraud. Defendants’ business

16   acts and practices are fraudulent because clients and the public are likely to be deceived by

17   Defendants’ advertising and/or representations contained in the Office Agreement and Plaintiffs

18   and the California Class were actually misled and deceived by Defendants’ representations.

19             90.   Plaintiffs and the California Class have lost money or property as a result of the

20   actions of the Defendants as set forth herein.

21

22                                                COUNT II

23                   VIOLATIONS OF CALIFORNIA BUSINESS & PROFESSIONS

24                                        CODE § 17500, ET SEQ.

25                               (California Class against All Defendants)

26             91.   Plaintiffs re-allege and incorporate each and every paragraph as if fully set forth

27   herein.

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 1               92.   Defendants advertising, including, but not limited to, advertising displayed on the

 2   Regus Website, www.craigslist.com, representations of “furnished” offices, representations of

 3   “simple one page” lease agreements, which fail to mention the amounts of additional charges that

 4   will be assessed by Regus, constitutes false or misleading advertising within the meaning of

 5   Business & Professions Code § 17500, et seq., because Defendants either knew or reasonably

 6   should have known, that such advertising was untrue and/or misleading and Plaintiffs and the

 7   California Class relied on Defendants’ representations. Defendants’ violation of § 17500, et seq.,

 8   also constitutes a violation of Business & Professions Code § 17200, et seq.

 9               93.   Plaintiffs and the California Class have lost money or property as a result of the

10   actions of the Defendants as set forth herein.

11

12                                                 COUNT III

13                                   CONCEALMENT/SUPPRESSION

14                                 (California Class against All Defendants)

15               94.   Plaintiffs re-allege and incorporate each and every paragraph as if fully set forth

16   herein.

17               95.   Defendants concealed, suppressed, and/or failed to adequately disclose the

18   amounts of assessments that would be charged by Regus to Plaintiffs and the California Class, in

19   connection with the office space, in a clear and conspicuous manner.

20               96.   Defendants had a duty to disclose the amounts of fees and assessments that would

21   be charged to Plaintiffs and the California Class in connection with the Office Agreement.

22               97.   Defendants had a duty to disclose the amounts of hidden fees to Plaintiffs and the

23   California Class prior to execution of the Office Agreement because of Defendants’ exclusive

24   knowledge of material facts not contained in the Office Agreement – namely, that additional

25   charges and assessments would be assessed by Regus according to Regus’ business practices and

26   policies.

27               98.   Defendants had a duty to disclose the amounts of additional fees to be assessed to

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 1   tenants in addition to the monthly payment for office space because Defendants actively concealed

 2   the amounts of the additional fees by not stating the amounts in the Office Agreement or Fine

 3   Print, by using extremely small font, and by failing to provide adequate disclosures that are clear

 4   and conspicuous.

 5            99.    Defendants had a duty to disclose the amounts of fees to be assessed to tenants in

 6   addition to the monthly payment for office space because Defendants’ indication of the monthly

 7   payment for office space stated in the Office Agreement constitutes a partial representation, but

 8   suppresses the fact that additional charges would be assessed post-closing.

 9            100.   Defendants jointly and singly engaged in a continuous and systematic policy of not

10   adequately disclosing charges and hidden fees that would be assessed to Regus tenants after

11   signing the one-page Office Agreement document.

12            101.   Defendants jointly and singly engaged in a business practice of withholding

13   adequate disclosures including but not limited to written disclosures of amounts of fees that Regus

14   knew that it would subsequently assess to tenants, customers, and consumers, after taking the

15   lease.

16            102.   Plaintiff and the members of the Class were unaware of the amounts that Regus

17   would assess in addition to the monthly payment for the office space, and Plaintiffs and the

18   California Class would not have freely and willingly agreed to pay for any additional assessments

19   that were not clearly and conspicuously disclosed.

20            103.   As a result of Defendants’ suppression, concealment, and failure to disclose the

21   charges that Regus would subsequently assess post-closing in connection with the office space the

22   Office Agreement, Plaintiffs and the California Class suffered damage in the amount of the unfair

23   and/or deceptive assessments charged by Regus.

24            104.   Defendants acts constitute oppression, fraud, and/or malice under California Civil

25   Code § 3294, entitling Plaintiff and the California Class to punitive damages in an amount

26   appropriate to punish and deter Defendants and others from similar practices.

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 1                                                 COUNT IV

 2                                NEGLIGENT MISREPRESENTATION

 3                                 (California Class against All Defendants)

 4             105.    Plaintiffs re-allege and incorporate each and every paragraph as if fully set forth

 5   herein.

 6             106.    Defendants made representations that the total monthly payment to be charged in

 7   connection with the office space would be in the amount stated in the Office Agreement.

 8             107.    The representations were false – Defendants knew that Regus would assess

 9   additional charges to Plaintiffs and the California Class for amounts not adequately disclosed in

10   the Office Agreement.

11             108.    Regardless of their actual belief, Defendants made the representations without any

12   reasonable ground for believing them to be true, inducing Plaintiffs and the California Class to

13   sign an Office Agreement.

14             109.    The representations were made with the intent to induce Plaintiffs and the Class to

15   rely upon them.

16             110.    Plaintiffs and the Class acted in reliance upon the truth of the representations and

17   were justified in relying upon the representations.

18             111.    As a result of the reliance upon the truth of the representations, Plaintiffs and the

19   Class sustained damage from the misrepresentations and Defendants’ misrepresentations were a

20   substantial factor in causing such damage.

21

22                                                  COUNT V

23                               INTENTIONAL MISREPRESENTATION

24                                 (California Class against All Defendants)

25             112.    Plaintiffs re-allege all paragraphs of this complaint, as though fully set forth

26   herein.

27             113.    Regus’ representations to Plaintiffs and the California Class concerning the total

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 1   monthly payment to be made in connection with the Office Agreement were false and misleading

 2   and Regus knew, or should have known, of its own practices and policies of assessing charges to

 3   tenants in addition to the amount of the monthly payment stated in the Office Agreement.

 4           114.    Regus failed to adequately disclose the amounts of assessments that would be

 5   charged to Plaintiffs and the California Class as a condition of continuing the lease.

 6           115.    Plaintiffs and the California Class were coerced to pay additional assessments to

 7   Defendants as a result of Regus’ superior bargaining power, assessments of additional

 8   unconscionable penalties, and threats of collections and/or legal proceedings against tenants.

 9           116.    Plaintiffs and the California Class reasonably relied on the promotional efforts and

10   advertising of Regus, including, but not limited to, representations concerning the “simple one-

11   page” Office Agreement and advertising on the Regus Website.

12           117.    Plaintiffs and the California Class acted in reliance upon the truth of the

13   representations and were justified in relying upon the representations.

14           118.    As a result of the reliance upon the truth of the representations, Plaintiffs and the

15   California Class sustained damage from the misrepresentations and Defendants’

16   misrepresentations were a substantial factor in causing such damage.

17           119.    Regus’ business practices, including, but not limited to, assessing unconscionable

18   penalties against Plaintiffs and the California Class, constitute oppression, fraud, and/or malice

19   under California Civil Code § 3294.

20           120.    Defendants acts constitute oppression, fraud, and/or malice under California Civil

21   Code § 3294, entitling Plaintiffs and the California Class to punitive damages in an amount

22   appropriate to punish or set an example of Defendants.

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 1                                                COUNT VI

 2                                       UNJUST ENRICHMENT

 3                                (California Class against All Defendants)

 4             121.   Plaintiffs re-allege all paragraphs of this complaint, as though fully set forth

 5   herein.

 6             122.   As a result of Defendants’ unfair, deceptive, fraudulent and misleading marketing,

 7   advertising, packaging, labeling, distributing, selling, and offering for sale office space,

 8   Defendants were enriched, at the expense of Plaintiffs and the California Class.

 9             123.   Under the circumstances, it would be against equity and good conscience to permit

10   Defendants to retain the ill-gotten benefits that were received from Plaintiffs and the California

11   Class. It would be unjust and/or inequitable for Defendants to retain the benefit without restitution

12   to Plaintiffs and the California Class.

13             124.   Accordingly, Plaintiffs and the California Class seek an order establishing

14   Defendants as constructive trustees of the profits that served to unjustly enrich them, together with

15   interest during the period in which Defendants have retained such funds, and requiring Defendants

16   to disgorge those funds to Plaintiffs and members of the California Class in a manner to be

17   determined by the Court.

18             125.   Therefore, Plaintiffs Circle Click and Metro Talent on behalf of the California

19   Class pray for relief as set forth below.

20

21                                                COUNT VII

22             UNLAWFUL DECEPTIVE ACTS AND PRACTICES IN VIOLATION OF

23                      NEW YORK STATE GENERAL BUSINESS LAW § 349

24                                (New York Class against All Defendants)

25             126.   Plaintiff CTNY Insurance Group re-alleges all paragraphs of this complaint, as

26   though fully set forth herein.

27             127.   This Count is based upon the unlawful deceptive acts and practices statute under

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 1   New York State General Business Law § 349 and the cases interpreting said statute.

 2           128.    Defendants have engaged in the following conduct: i) false and misleading express

 3   and/or implied representations, advertising, and omissions of material fact relating to the “Monthly

 4   Payment” amount for the office space; ii) a failure to provide adequate written disclosures of post-

 5   closing additional amount(s) assessed to Plaintiff CTNY Insurance Group and the New York Class

 6   in connection with the Office Agreement; iii) suppression and concealment of clear and

 7   conspicuous written disclosures stating the additional amounts that Regus would assess to Plaintiff

 8   CTNY Insurance Group and the New York Class; and iv) the exertion of undue bargaining power

 9   over Plaintiff CTNY Insurance Group and the New York Class. Such conduct by Defendants

10   constitutes deception, fraud, unconscionable commercial practices, false pretenses, false promises,

11   misrepresentations, or the knowing concealment, suppression, or omission of material facts with

12   the intent that others rely upon such concealment, suppression, or omission, in connection with the

13   advertisement, sale, and/or offer to sell office space in the State of New York in violation of § 349

14   of New York's General Business Law, making deceptive acts and practices illegal.

15           129.    Had Plaintiff CTNY Insurance Group and the New York Class known the truth,

16   they would not have signed the Office Agreement or, alternatively, would have negotiated a much

17   lower purchase price commensurate with the value of the items charged for by Defendants.

18           130.    The unfair and deceptive trade acts and practices of Defendants have directly,

19   foreseeably, and proximately caused damages and injury to Plaintiff CTNY Insurance Group and

20   the New York Class.

21

22                                              COUNT VIII

23                    UNLAWFUL FALSE ADVERTISING IN VIOLATION OF

24                     NEW YORK STATE GENERAL BUSINESS LAW § 350

25                                (New York Class against All Defendants)

26           131.    Plaintiff CTNY Insurance Group re-alleges all paragraphs of this complaint, as

27   though fully set forth herein.

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 1           132.    This Count is based upon the unlawful false advertising statute under New York

 2   State General Business Law § 350 and the cases interpreting said statute.

 3           133.    Defendants engaged in false advertising concerning the Office Agreement.

 4           134.    New York General Business Law § 350-a defines “false advertising” as

 5   “advertising . . . if such advertising is misleading in a material respect. In determining whether

 6   any advertising is misleading, there shall be taken into account . . . the extent to which the

 7   advertising fails to reveal facts material in the light of such representations with respect to the

 8   commodity . . .”

 9           135.    By marketing, advertising, packaging, labeling, distributing, and selling the Office

10   Agreement to CTNY Insurance Group and New York Class, Defendants engaged in and continue

11   to engage in, false advertising.

12           136.    Plaintiff CTNY Insurance Group and the New York Class seek to enjoin such

13   unlawful and deceptive acts and practices described above. Class members will be irreparably

14   harmed unless the unlawful actions of Defendants are enjoined in that Defendants will continue to

15   falsely advertise the monthly payment for the Office Agreement without adequate disclosure of the

16   additional assessments and charges that Regus will charge post-closing. Accordingly, Plaintiff

17   CTNY Insurance Group seeks an order granting injunctive relief ordering clear and conspicuous

18   written disclosures and disclaimers on the marketing, advertising, packaging, labeling,

19   distributing, promotion, and selling of the Office Agreement product.

20           137.    Absent injunctive relief, Defendant will continue to falsely advertise the Office

21   Agreement and the total monthly payment in connection with the office space.

22           138.    In this regard, Defendants have violated, and continue to violate New York State

23   General Business Law § 350, which makes false advertising unlawful. As a direct and proximate

24   result of Defendants’ violation of New York State General Business Law § 350 as described

25   above, Plaintiff CTNY Insurance Group and the New York Class have suffered damages in an

26   amount to be determined at trial.

27           139.    The unfair and deceptive trade acts and practices of Regus have directly,

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 1   foreseeably, and proximately caused damages and injury to Plaintiff CTNY Insurance Group and

 2   the other members of the New York Class.

 3

 4                                                     COUNT IX

 5                                            UNJUST ENRICHMENT

 6                                     (New York Class against All Defendants)

 7            140.   Plaintiff CTNY Insurance Group re-alleges all paragraphs of this complaint, as

 8   though fully set forth herein.

 9            141.   As a result of Defendants’ unfair, deceptive, fraudulent and misleading marketing,

10   advertising, packaging, labeling, distributing, selling, and offering for sale office space,

11   Defendants were enriched at the expense of Plaintiff CTNY Insurance Group and the New York

12   Class.

13            142.   Under the circumstances, it would be against equity and good conscience to permit

14   Defendants to retain the ill-gotten benefits that were received from Plaintiff CTNY Insurance

15   Group and the New York Class. It would be unjust and/or inequitable for Defendants to retain the

16   benefit without restitution to Plaintiff CTNY Insurance Group and the New York Class.

17            143.   Accordingly, Plaintiff and the New York Class seek an order establishing

18   Defendants as constructive trustees of the profits that served to unjustly enrich them, together with

19   interest during the period in which Defendants have retained such funds, and requiring Defendants

20   to disgorge those funds to Plaintiff and members of the New York Class in a manner to be

21   determined by the Court.

22            144.   Therefore, Plaintiff CTNY Insurance Group on behalf of the New York Class

23   prays for relief as set forth below.

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 1                                    VIII.    PRAYER FOR RELIEF

 2           WHEREFORE, Plaintiffs and all members of the Classes pray that the Court enter an

 3   order and judgment against the Defendants as follows:

 4           1.      For an order certifying the California Class as a class action pursuant to Fed. R.

 5   Civ. P. 23 and appointing Plaintiffs Circle Click and Metro Talent and their counsel to represent

 6   the California Class;

 7           2.      For an order certifying the New York Class as a class action pursuant to Fed. R.

 8   Civ. P. 23 and appointing Plaintiff CTNY Insurance Group and its counsel to represent the New

 9   York Class;

10           3.      Adjudging and decreeing that Defendants, and each of them, have engaged in the

11   conduct alleged herein with respect to both of the Classes;

12           4.      Awarding Plaintiffs Circle Click and Metro Talent and the California Class

13   injunctive relief for Defendants’ violations set forth herein;

14           5.      Awarding Plaintiff CTNY Insurance Group and the New York Class injunctive

15   relief for Defendants’ violations set forth herein;

16           6.       Awarding Plaintiffs Circle Click and Metro Talent and the California Class

17   restitution, including, but not limited to disgorgement of Defendants’ wrongfully obtained

18   revenues, earnings, profits compensation, and benefits pursuant to California Business &

19   Professions Code §§ 17203 and 17204, for Defendants’ violations of Business & Professions Code

20   §§ 17200, et seq., and 17500 et seq.;

21           7.      Awarding Plaintiff CTNY Insurance Group and the New York Class restitution,

22   including, but not limited to disgorgement of Defendants’ wrongfully obtained revenues, earnings,

23   profits compensation, and benefits pursuant to New York State General Business Law §§ 349 and

24   350;

25           8.      Awarding Plaintiffs Circle Click and Metro Talent and the California Class

26   damages for Defendants’ violations of California Civil Code § 1950.8;

27           9.      Awarding Plaintiff CTNY Insurance Group and the New York Class damages for

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 1   Defendants’ violations of New York State General Business Law §§ 349 and 350;

 2            10.    Awarding Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group and

 3   the Classes general damages;

 4            11.    Awarding Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group and

 5   the Classes special damages;

 6            12.    Awarding Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group and

 7   the Classes punitive damages;

 8            13.    Awarding Plaintiffs Circle Click, Metro Talent, and CTNY Insurance Group and

 9   the Classes pre- and post-judgment interest as allowed by law;

10            14.    Awarding costs and expenses (including, but not limited to, expert-witness fees)

11   and attorney’s fees to Plaintiffs Circle Click and Metro Talent and the California Class pursuant to

12   Code of Civil Procedure § 1021.5, a common fund theory, and/or any other theory or statutory

13   basis;

14            15.    Awarding costs and expenses (including, but not limited to, expert-witness fees)

15   and attorney’s fees to Plaintiff CTNY Insurance Group and the New York Class pursuant to New

16   York State General Business Law §§ 349 and 350, a common fund theory, and/or any other theory

17   or statutory basis; and

18            16.    Granting such other and further relief that this Court may deem just and proper.

19                                    IX.      JURY TRIAL DEMAND

20            Plaintiffs, on their own behalf and on behalf of all others similarly situated, hereby

21   demand a trial by jury.

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 1   Dated: September 24, 2012                 Respectfully submitted,

 2                                             GAROFOLO LAW GROUP, P.C.
                                               ARI LAW, P.C.
 3

 4                                             By:    /s/ Joseph A. Garofolo
                                                      Joseph A. Garofolo
 5
                                               Attorneys for Plaintiffs
 6                                             CIRCLE CLICK MEDIA LLC,
                                               METRO TALENT, LLC and
 7                                             CTNY INSURANCE GROUP LLC
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